225 F.3d 887 (7th Cir. 2000)
    Andrea N. Butler, Emmalea Butler  and Ted Butler, Plaintiffs-Appellants,v.H. Dean Evans, individually and in his capacity  as Superintendent of the Indiana Department  of Education, Indiana Department of Education,  Jerry Thaden, individually and in his capacity  as Commissioner of the Indiana Department  of Mental Health, Dina Haugh, in her capacity  as Superintendent of LaRue D. Carter Memorial  Hospital, and Paul Ash, individuallyand in his  capacity as Director of the Indiana Division of  Special Education, Defendants-Appellees.
    No. 99-3135
    In the  United States Court of Appeals  For the Seventh Circuit
    Argued May 9, 2000Decided August 31, 2000
    
      Appeal from the United States District Court  for the Northern District of Indiana, Hammond Division.  No. 91 C 216--Theresa L. Springmann, Magistrate Judge.
      Before Manion, Kanne and Rovner, Circuit Judges.
      Kanne, Circuit Judge.
    
    
      1
      As a child, Andrea "Niki"  Butler experienced severe emotional and  psychological troubles that made it difficult for  her to be educated in a regular school. Her local  school recommended that she be placed in a  residential educational facility that could  provide a structured setting designed to  accommodate her condition. Before her local  school and the Indiana Department of Education  could process this placement, Niki Butler's  condition forced her parents, Emmalea and Ted  Butler, to have her committed to a psychiatric  hospital for several months. After Niki was  released from the hospital, the state of Indiana  placed her in a residential educational facility.  Nevertheless, her parents sought reimbursement  from the state for the costs of Niki's  hospitalization. We affirm the district court's  denial of the Butlers' reimbursement claim  because Niki's hospitalization did not result  from delays by the state of Indiana in processing  Niki's placement, nor did the hospital care  constitute "related services" reimbursable under  the Individuals with Disabilities Education Act  ("IDEA"), 20 U.S.C. sec.sec. 1400-1487.
    
    I.  History
    
      2
      The IDEA represents "an ambitious federal effort  to promote the education of handicapped  children." Board of Educ. of Hendrick Hudson  Cent. Sch. Dist. v. Rowley, 458 U.S. 176, 179  (1982) (discussing the Education for All  Handicapped Children Act, later amended and  renamed the IDEA). Its purpose is "to ensure that  all children with disabilities have available to  them appropriate public education that emphasizes  special education and related services designed  to meet their unique needs." 20 U.S.C. sec.  1400(d). Among other things, the IDEA supplies  the states with federal funding for specialized  education services to assist eligible disabled  children. In conformity with applicable federal  guidelines, the state of Indiana administers  those funds through the Indiana Department of  Education and its local school systems. See Ind.  Code sec. 20-1-6-4.
    
    
      3
      For each child in need of special education  assistance, the state of Indiana convenes an IDEA  case conference between parents and local  officials to tailor an individualized education  plan ("IEP") for the disabled student. See 20  U.S.C. sec.sec. 1401(11), 1414(d). In most cases,  the local school or school cooperative can  provide the necessary accommodations suggested by  the IEP and keep the child in her regular school.  However, in unusual circumstances, the local  school is unequipped to provide the necessary  services and must transfer the child to a special  residential facility. Typically at that point, a  local coordinating committee comprising a  juvenile court judge, the child's parents and  local education and health officials evaluates  the child's condition and makes proposals to the  local school board. The Indiana Department of  Education administers these special cases through  what it calls a Rule S-5 application, pursuant to  which the local school can apply to the state for  IDEA funding of a residential placement on the  disabled child's behalf. See Ind. Code sec. 20-1-  6-19; 511 Ind. Admin. Code sec. 7-12-5.
    
    
      4
      Niki Butler endured a series of emotional  disturbances during her childhood and was  diagnosed with severe schizophrenia. By her  sixteenth birthday, she had suffered auditory and  visual hallucinations, attempted suicide and  struggled with paranoia and psychotic episodes.  She eventually was hospitalized for six weeks at  Alexian Brothers Medical Center in August 1990.  After evaluating Niki's case on November 16,  1990, her local school preliminarily recommended  application for a S-5 residential placement. On  February 12, 1991, the local coordinating  committee agreed that Niki's condition warranted  a residential placement and approved the proposed  S-5 application to the Indiana Department of  Education. On April 18, 1991, the local school  authorities held an IEP case conference and  agreed that Niki's condition required a  residential placement for educational purposes.  They devised an IEP that targeted basic academic  skills and social behavior as key areas for  instruction and suggested a number of placement  options, including special classes in a private  or public residential education facility. The IEP  assumed that Niki would not be hospitalized and  was ready for an educational placement.
    
    
      5
      However, during this prolonged administrative  process, Niki's condition demanded immediate  medical intervention. Following a request from  Niki's school that she be examined by a  psychiatrist, Niki's parents admitted her  voluntarily to Valle Vista Hospital on March 15,  1991. Then, on April 23, 1991, before Niki's  local school had filed its S-5 application with  the Indiana Department of Education, Niki's  parents transferred her to Our Lady of Mercy  Hospital in Dyer, Indiana, where she would stay  for the next six months. During her hospital  stay, Niki received medical treatment for her  psychiatric needs at a cost of $121,021.13. This  care included daily psychiatric counseling,  strong doses of Lithium and Stelazine and daily  group and recreational therapy. The hospital  retained two teachers and a teacher's aide on  staff for patients from 9 to 11 a.m., and Niki  received assignments from school while she was  hospitalized. However, Our Lady of Mercy Hospital  was not approved by the state as her IDEA  residential educational placement, nor were these  educational activities at Our Lady of Mercy  Hospital conducted pursuant to Niki's IEP.
    
    
      6
      On April 24, the day after Niki was admitted to  Our Lady of Mercy Hospital, Niki's local school  corporation filed the long-anticipated S-5  application. Yet the next day, April 25, 1991, on  their own initiative, Niki's parents filed a  petition in Indiana state court for Niki's  involuntary commitment. Her parents alleged in  the commitment petition that Niki was suffering  from a psychiatric disorder and presented a  substantial risk of harming herself and others.  On May 17, 1991, the court reviewed a physician's  report and entered an order of commitment for  Niki. The court agreed that Niki was mentally  ill: "schizo-affective, paranoid, suicidal,  satanical and with a mental disorder needing  long-term education, structural, locked  residential protective placement." The court  physician reported that a commitment longer than  ninety days would be necessary for Niki's  condition to stabilize, and the court suggested  LaRue D. Carter Memorial Hospital, a state  hospital operated by the Indiana Division of  Mental Health, as the "most appropriate, least  restrictive facility for placement." LaRue  Hospital had no vacancies and could not  immediately admit Niki, so the court ordered Niki  to remain at Our Lady of Mercy Hospital until  space opened at an alternate psychiatric  institution designated by the Indiana Department  of Mental Health.
    
    
      7
      Niki remained at Our Lady of Mercy Hospital for  another five months awaiting a transfer. Our Lady  of Mercy Hospital reported that Niki "worked  toward a goal ultimately of residential  treatment. . . . She showed significant gains.  She ceased to be delusional and hallucinating.  She slowly began to explore the relationship to  family and to become more appropriate. Certainly  the underlying pathology was still present  throughout. As of the time of discharge she  appeared to be stabilizing and preparing for  transfer to residential care." She eventually  transferred to LaRue Carter Hospital on November  6, and then pursuant to her IEP, moved to a  residential special education program at the  Maryhurst School in Louisville, Kentucky, on  December 2, 1991. It was not until December 3  that LaRue Carter Hospital notified the court  that Niki was no longer a danger to herself or  others and that her civil commitment could be  terminated.
    
    
      8
      Meanwhile, a class of disabled children and  their parents filed a class-action lawsuit in  federal district court against the Indiana  Department of Education. The class alleged, among  other things, that the long delays between the  development of IEPs requiring residential  placement and the actual residential placements  violated the IDEA. Niki's parents added Niki and  themselves as plaintiffs to the lawsuit in  August. On April 8, 1993, Judge Rudy Lozano  granted the plaintiffs' motion for partial  summary judgment, explaining that "[a]n IEP must  be implemented as soon as possible following the  development of that IEP." Evans v. Evans, 818  F.Supp. 1215, 1222 (N.D. Ind. 1993).
    
    
      9
      After some negotiation, the parties submitted an  agreed order settling the suit on June 20, 1994.  The order provides that the plaintiffs were  eligible to petition through administrative  adjudication for "educational and related  services reimbursement for each member of the  class who incurred costs for education and  related services between the date of the IEP . .  . and the date of actual placement." In addition,  the agreed order concluded that the state of  Indiana should place eligible disabled children  in a residential facility no later than thirty  days from their IEPs, "except where special  circumstances require otherwise." The order  explains, "Among the events that shall constitute  special circumstances for purposes of this  paragraph are IDOE's lack of receipt of notice  [of the IEP]." The state of Indiana also agreed  to waive all the charges that Niki accrued at  LaRue Carter Hospital.
    
    
      10
      Pursuant to the administrative procedure  described in the agreed order, the Butlers filed  a reimbursement claim for Niki's bills from Our  Lady of Mercy Hospital because the  hospitalization occurred during the delay between  completion of Niki's IEP on April 18, 1991, and  her placement at the Maryhurst School on December  2, 1991. The Indiana Department of Education  independent hearing officer approved the Butlers'  claims. However, because the services that Niki  received at Our Lady of Mercy Hospital were  primarily medical and psychiatric, the Indiana  Board of Special Education Appeals reversed the  hearing officer's decision and found that Niki's  psychiatric hospitalization was not "education or  related services" as required for reimbursement  by the agreed order. The Butlers appealed the  final denial of their reimbursement claim to  Judge Lozano who, with the parties' consent,  referred the appeal to a magistrate judge.  Magistrate Judge Theresa L. Springmann then  affirmed the decision of the Board of Special  Education Appeals.
    
    II.  Analysis
    
      11
      The Butlers appeal the district court's  affirmance of the denial of their IDEA  reimbursement claim by the Indiana Board of  Special Education Appeals. Under the IDEA,  parties may appeal the results of a state  administrative proceeding to a district court.  The district court "basing its decision on the  preponderance of the evidence shall grant such  relief as the court determines is appropriate."  20 U.S.C. sec. 1415(i)(2)(B)(iii). The district  court must confer due weight to the final  decisions of the state administrators and cannot  substitute its own notions of sound educational  policy for those of the school authorities. See  Heather S. v. State of Wis., 125 F.3d 1045, 1052-  53 (7th Cir. 1997) (quoting Rowley, 458 U.S. at  206); see also O'Toole v. Olathe Dist. Schs.  Unified Sch. Dist. No. 233, 144 F.3d 692, 698-99  (10th Cir. 1998). Now on appeal, we review the  district court's judgment as a mixed question of  law and fact, reviewing the ultimate  determination de novo but reversing the court's  factual findings only if clearly erroneous. See  Heather S., 125 F.3d at 1053.
    
    
      12
      The agreed order in Evans declared that the  Indiana Department of Education was obligated by  federal law to place disabled children in  residential facilities within thirty days of the  IEP, except when "special circumstances require  otherwise." In addition, the agreed order  stipulated that the state of Indiana would  reimburse the plaintiffs, after administrative  adjudication of their claims, for qualified  "educational and related services" incurred as a  result of unreasonable delays between IEP  development and residential placement. The  Butlers contend that Niki's hospitalization  expenses at Our Lady of Mercy Hospital are  reimbursable costs under the agreed order.
    
    
      13
      The state of Indiana is not liable for Niki's  hospitalization charges because those expenses  resulted from "special circumstances." Local  school officials approved Niki's IEP on April 18,  1991, but the IEP was designed only for a  homebound placement and contemplated Niki's  release from Valle Vista Hospital on April 23,  1991. The IEP recommended placement at a  residential educational facility to serve Niki's  particular educational needs, not placement at a  hospital for further medical treatment. However,  Niki's psychological condition demanded emergency  action. On April 23, instead of bringing her home  from Valle Vista Hospital, Niki's parents  transferred Niki to Our Lady of Mercy Hospital  and two days later commenced involuntary  commitment proceedings. Niki's unstable  psychological condition necessitated her  hospitalization and rendered her unable to handle  the residential placement recommended by the IEP.  In fact, it was only after several months of care  at Our Lady of Mercy Hospital that "she appeared  to be stabilizing and preparing for transfer to  residential care." By December, when Niki's  commitment ended upon a declaration that she no  longer posed a risk to herself or others, the  state of Indiana had already moved her to the  Maryhurst School for her residential placement.  The district court and the Indiana Board of  Special Education Appeals found that Niki's  transfer to Our Lady of Mercy Hospital and  subsequent commitment were special circumstances  that delayed her residential placement. We do not  find their conclusions clearly erroneous.
    
    
      14
      Moreover, Niki's hospital charges are not  recoverable because only payments for "education  or related services" are reimbursable under the  agreed order. The IDEA defines related services  as "transportation, and such developmental,  corrective, and other supportive services . . .  as may be required to assist a child with a  disability to benefit from special education." 20  U.S.C. sec. 1401(22). The IDEA lists a number of  services as examples, including medical care, but  stipulates "that such medical services shall be  for diagnostic and evaluation purposes only." Id.  Interpreting this clause, the Ninth Circuit held  that inpatient psychiatric hospitalization, like  Niki's treatment at Our Lady of Mercy Hospital,  is not a special education placement and that the  hospitalization is not a related service  compensable under the IDEA. See Clovis Unified  Sch. Dist. v. California Office of Admin.  Hearings, 903 F.2d 635, 643 (9th Cir. 1990). The  court explained that the "analysis must focus on  whether [the disabled child's] placement may be  considered necessary for educational purposes, or  whether the placement is a response to medical,  social, or emotional problems that is necessary  quite apart from the learning process." Id.  Although the Butlers contend that Niki received  some tutoring while hospitalized, we agree with  the Indiana administrative hearing board and the  district court below that Niki was admitted to  Our Lady of Mercy Hospital almost exclusively for  medical reasons, not for educational purposes,  and received almost exclusively medical services,  not educational ones. By April 1991, Niki's acute  psychological condition demanded medical  intervention and took precedence over her  educational needs. As in Clovis, Niki's  hospitalization was prompted by a psychiatric  crisis, was not approved by her IEP and occurred  at a medical facility that did not provide  educational services and had not been approved by  the state as her residential educational  institution. Clovis, 903 F.2d at 643-45.
    
    
      15
      Niki's IEP did not authorize psychiatric  hospitalization as a related service. The IEP  determines the IDEA services that the state will  provide subject to state approval and oversight.  Federal regulations require that the educational  placement of the disabled child be "based on his  or her IEP," 34 C.F.R. sec. 300.552(b)(2), and  Indiana law authorizes IDEA reimbursement for  related services only if "[the IEP] case  conference committee determines the student  requires the related services in order to benefit  from special education." 511 Ind. Admin. Code  sec. 7-13-5(a). As the Butlers themselves point  out, Niki's education review committee decided  unanimously that Niki did not need  hospitalization. The Butlers conflate the  commitment proceedings and the IEP  recommendations to argue that the Indiana  Department of Education authorized Niki's  hospitalization. They characterize the court's  decision to commit Niki as based on Niki's  educational needs and point to the court's  recommendation of LaRue Carter Hospital, an  institution that the Butlers contend qualifies as  a residential education placement. However, the  commitment and IEP recommendations were decided  independently in separate proceedings. Niki's  parents committed and hospitalized Niki outside  of the IDEA procedures and IEP recommendations.
    
    
      16
      By the Butlers' admission, Our Lady of Mercy  Hospital is a medical hospital, not a residential  education facility, and does not conform to the  recommendations in Niki's IEP. There is scant  evidence that the hospital provided or was  equipped to provide anything more than meager  educational services, and Our Lady of Mercy  Hospital was not approved by the state to serve  as Niki's IDEA residential educational placement  under Indiana law. See 511 Ind. Admin. Code sec.  7-12-5(o) (requiring state authorization before  placement); see also Clovis, 903 F.2d at 646  (disallowing reimbursement for hospitalization at  a facility not certified by the state department  of education). Niki's IEP authorized a  residential placement in an educational facility,  but her commitment required a long hospital stay  instead and delayed the placement until December.  The IDEA requires in certain cases that the state  pay for institutionalized care or for tutors and  trained specialists at residential educational  placements, but only if "necessary to provide  special education and related services." 34  C.F.R. sec. 300.302. The IDEA does not require  reimbursement of medical-care costs for  psychiatric hospitalization when, as here, the  hospitalization addresses the child's medical,  social or emotional disabilities apart from her  special education needs. See Clovis, 903 F.2d at  646-47.
    
    
      17
      The Butlers do not argue that Niki's IEP was  erroneous and should have recommended psychiatric  hospitalization at Our Lady of Mercy Hospital.  See, e.g., School Comm. v. Department of Educ.,  471 U.S. 359, 369 (1985) (holding that  reimbursement may be available when parents place  their child in an educational placement which the  IEP should have authorized in the first place).  In Mrs. B. v. Milford Board of Education, 103  F.3d 1114, 1122 (2d Cir. 1997), the Second  Circuit ordered state reimbursement for a  disabled child's residential placement only after  the court found that the child's IEP originally  should have recommended that placement as the  parents had insisted. Likewise in Seattle School  District, No. 1 v. B.S., 82 F.3d 1493, 1502 (9th  Cir. 1996), the Ninth Circuit held that the  school district was liable for the costs of a  residential placement at an accredited  educational institution approved by the state for  IDEA placements. The Butlers, however, did not  challenge Niki's IEP and never requested a new  case conference to design a new IEP. In any case,  a revised IEP would not have authorized  residential educational placement at Our Lady of  Mercy Hospital because, as the Butlers' counsel  admitted at oral argument, the facility "was not  in the business of providing residential  placement for educational purposes."
    
    
      18
      It is true that the IDEA requires the provision  of certain medical accommodations within a  regular school environment for disabled students.  See Irving Independent Sch. Dist. v. Tatro, 468  U.S. 883 (1984); Seattle Sch. Dist., 82 F.3d  1493. For example, in Cedar Rapids Community  School District v. Garret F., 526 U.S. 66, 68  (1999), the Supreme Court held that the IDEA  required a school to provide a ventilator-  dependent student with a full-time nurse during  the school day. The Court reasoned that the sec.  1401(22) exclusion of medical services did not  exclude reimbursement for indispensable in-school  nursing because such "services that enable a  disabled child to remain in school during the day  provide the student with 'the meaningful access  to education that Congress envisioned.'" Id. at  973 (quoting Tatro, 468 U.S. at 891). Provision  of a nurse during the school day was borne of the  student's educational needs because "the services  at issue must be provided if [the student] is to  remain in school." Cedar Rapids, 526 U.S. at 79;  see also Tatro, 468 U.S. at 891 (finding that in-  school catheterization, which enabled the child  to attend school, was a related service).
    
    
      19
      In contrast, Niki's hospitalization was not an  attempt to give her meaningful access to public  education or to address her special educational  needs within her regular school environment. This  is not a case in which the disabled student  needed medical assistance to remain in a regular  school; Niki was committed to a psychiatric  hospital. Niki might have continued to receive  school assignments and some tutoring while  hospitalized, but education was not the purpose  of her hospitalization. Unlike in-school nursing  in Cedar Rapids, Niki's inpatient medical care  was necessary in itself and was not a special  accommodation made necessary only to allow her to  attend school or receive education. The IDEA does  not require the government to pay for all the  additional services made necessary by a child's  disability, and it specifically excludes medical  services except those "for diagnostic and  evaluation purposes only." 20 U.S.C. sec.  1401(22). The district court and the state  appeals board were not clearly erroneous in  finding that Niki's hospitalization was a medical  service extending beyond diagnostic and  evaluation purposes and thus excluded from  reimbursement by 20 U.S.C. sec. 1401(22).
    
    III.  Conclusion
    
      20
      For the foregoing reasons, we Affirm the decision  of the district court denying the Butlers' IDEA  reimbursement claim under the Evans agreed order.
    
    